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             IN THE UNITED STATES BANKRUPTCY COURT FOR THE WESTERN
                       DISTRICT OF TEXAS (SAN ANTONIO)



  In re:                                                 Chapter 7

  VICTOR HUGO SANCHEZ AKA VICTOR                         Case No. 21-51206
  HUGO SANCHEZ MALULY

                               Debtor



  DOCTORS HOSPITAL AT RENAISSANCE,
  LTD. AND RGV MED, LLC.,
                          Plaintiffs                     Adversary No. 22-5003

  Vs.

  VICTOR HUGO SANCHEZ
                                      Defendant


                 NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
                           AND REQUEST FOR NOTICES

           PLEASE TAKE NOTICE that, the undersigned appears as additional counsel for

  DOCTORS HOPSITAL AT RENAISSANCE, LTD, and RGV MED, LLC, (the "Creditors"),

  parties in interest in this case, and pursuant to Bankruptcy Rules 2002, 3017 and 9010,

  request that all notices given, or required to be given in this case, and all papers served, or

  required to be served in this case, be given to and served upon the undersigned at the

  office, address, and telephone number set forth below:

                                      Michael A. McGurk
                                     State Bar No. 00797746
                                       Fed. Id. No. 20091
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                       WALSH MCGURK CORDOVA NIXON, PLLC
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                                Edinburg, Texas 78539
                              mmcgurk@wmcnlaw.com
                                     (956) 632-5030
                                  (956) 632-5050 FAX

         Furthermore, Attorney Stephen K. Lecholop II will continue as attorney in charge.

  PLEASE TAKE FURTHER NOTICE that, pursuant to Bankruptcy Rules 2002 and 9007, and

  all applicable local rules of the Bankruptcy Court, the foregoing request includes, without

  limitation, all notices of orders, applications, complaints, demands, objections, hearings,

  motions, petitions, pleadings, briefs, plans, disclosure statements, or requests, and any

  other documents brought before the Bankruptcy Court in this case, whether formal or

  informal, written or oral, and whether transmitted or conveyed by mail, delivery,

  telephone, telegraph, telex, or otherwise.


                                               Respectfully submitted,

                                               By:
                                                     Michael A. McGurk
                                                     State Bar No. 007977746
                                                     Fed. Id. No. 20091
                                                     mmcgurk@wmcnlaw.com
                                                     1506 S. Lone Star Way, Ste. 10
                                                     Edinburg, Texas 78539
                                                     Telephone: 956-632-5000
                                                     Facsimile: 956-632-5050

                                               ATTORNEYS FOR DOCTORS HOPSITAL AT
                                               RENAISSANCE, LTD, and RGV MED, LLC.

  OF COUNSEL:
  Walsh McGurk Cordova Nixon, PLLC
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                               CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served on the date it was filed
  electronically. Service was accomplished by the method and to the following as indicated:
  BY ELECTRONIC NOTICE:

        Debtor
        Victor H. Sanchez
        represented by Michael J. O’Connor
        Law Office of Michael J. O’Connor
        921 Proton Road
        San Antonio, Tx 78258
        oconnorlaw@gmail.com

        Stephen K. Lecholop II
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        San Antonio, Texas 78212
        slecholop@rpsalaw.com

        Trustee:
        Randolph N. Osherow
        342 W. Woodlawn, Ste. 100
        San Antonio, 78212
        rosherow@hotmail.com

        United States Trustee – SA12
        615 E. Houston St. #533
        San Antonio, Tx 78205
        USTPRegion07.SN.ECF@usdoj.gov
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                                      Michael A. McGurk
